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                      UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                           FORT WORTH DIVISION

      CHAMBER OF COMMERCE OF THE
      UNITED STATES OF AMERICA, ET AL.,

           Plaintiffs,

      v.                                                           No. 4:24-cv-00213-P

      CONSUMER FINANCIAL PROTECTION
      BUREAU, ET AL.,

           Defendants.

           ORDER REOPENING CASE AND PROVIDING NOTICE
           TO THE UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF COLUMBIA
           In accordance with the order and instructions of the United States
      Fifth Circuit Court of Appeals, attached hereto as Exhibit A, the Court
      hereby ORDERS        the Clerk of the Court to reopen this case. Further,
      the Court ORDERS            the Clerk of the Court to provide            a copy of this
      Order to the United States District Court for the District of Columbia
      in   order   to provide     notice   that   the   Court’s    “transfer      was   without
      jurisdiction and should be disregarded.” In re Fort                 Worth    Chamber    of
      Commerce, No. 24-10266, Slip Op. at 2 (5th Cir. Apr. 5, 2024).

           SO ORDERED           on this 8th day of March          2024.




                            Mark T. Pittman
                            UNITED STATES DISTRICT JUDGE
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                           EXHIBIT
                                 “6A”
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                              United States Court of Appeals
                                                       FIFTH CIRCUIT
                                                   OFFICE OF THE CLERK

 LYLE W. CAYCE                                                                                         TEL, 504-310-7700
 CLERK                                                                                             600 S. MAESTRI PLACE,
                                                                                                            Suite 115
                                                                                                   NEW ORLEANS, LA 70130

                                                  April         05,        2024

MEMORANDUM            TO   COUNSEL        OR      PARTIES         LISTED           BELOW:

       No.       24-10266            In     re:         Chamber            of    Commerce
                                     USDC         No.     4:24-CV-213


Enclosed         is    the   opinion           entered          in         the    case     captioned     above.



                                                          Sincerely,

                                                          LYLE        W.        CAYCE,     Clerk
                                                            Chyuswina, Racha!
                                                          By:
                                                          Christina               C.     Rachal,   Deputy     Clerk
                                                          504-310-7651

Ms.   Jennifer B. Dickey
Ms,   Stephanie Garlock
Ms.   Karen   S. Mitchell
Mr.   Michael    F. Murray
Mr.   Justin          Michael Sandberg
Mr.   Philip          Avery Vickers
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               GQnited States Court of Appeals
                      for the Htfth Circutt                                       FILED
                                                                               April 5, 2024
                                                                              Lyle W. Cayce
                                      No, 24-10266                                 Clerk


      IN RE FoRT WORTH CHAMBER OF COMMERCE; LONGVIEW
      CHAMBER OF COMMERCE; AMERICAN BANKERS ASSOCIATION;
      CONSUMER BANKERS ASSOCIATION; TEXAS ASSOCIATION OF
      BUSINESS; CHAMBER OF COMMERCE FOR THE UNITED STATES
      OF AMERICA,

                                                                         Petitioners.


                     Appeal from the United States District Court
                           for the Northern District of Texas
                                 USDC No. 4:24-CV-213


      Before HIGGINSON,      WILLETT, and OLDHAM, Circuit Judges.
      Don R. WILLETT, Circuit Judge:
             A group of plaintiffs consisting of various business associations,
      including one located in Fort Worth, filed suit in the Northern District of
      Texas, challenging a new Final Rule issued by the Consumer Protection
      Financial Bureau (CFPB) regarding credit card late fees. The plaintiffs
      collectively sought a preliminary injunction against the Final Rule and
      requested expedited briefing and review in light of the Final Rule’s imminent
      effect and the substantial compliance it entailed.
             Rather than rule on the motion for preliminary injunction, however,
      the district court sua sponte considered whether venue was appropriate in the
      Northern District of Texas and invited CFPB to file a motion to transfer.
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      CFPB     obliged, and the district court granted its motion in short order,
      transferring the case to the United States District Court for the District of
      Columbia.
             The plaintiffs now petition for a writ of mandamus, arguing that the
      district court clearly abused its discretion by transferring the case while the
      plaintiffs’ appeal was already pending here and, alternatively, lacked
      jurisdiction to transfer the case. Because the plaintiffs appealed the district
      court’s effective denial of their preliminary-injunction motion before the
      district court granted the motion to transfer the case, we agree that the
      district court acted without jurisdiction.
             Forum disputes are nothing new in American litigation. Opposing
      parties frequently bicker over where their litigation belongs. And district
      judges are right to scrutinize whether legal challenges in their courts actually
      belong there. Procedure matters—in big and small cases alike—and venue,
      admittedly, can be vexing. But this much is clear: Once a party properly
      appeals something a district court has done—here, the effective denial of a
      preliminary injunction—the district court has zero jurisdiction to do
      anything that alters the case’s status, Importantly, we are not announcing
      today a broad rule regarding inter-circuit transfers, Indeed, we do not even
      reach the question of where this case rightly belongs. Our decision today is
      exceedingly narrow and procedural, focused not on the correctness of the
      district court’s transfer order but rather on whether the court had jurisdiction
      to enter it. On these facts, it did not.

              Accordingly, we GRANT the petition for mandamus, VACATE the
      district court’s transfer order, and ORDER the district court to reopen the
      case because its post-appeal transfer order was void for want of jurisdiction
      and to give notice to D.D.C. that its transfer was without jurisdiction and
      should be disregarded.
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                                                      I
              The Credit Card Accountability and Disclosure Act directs CFPB to
      “establish standards for assessing whether” credit card late fees are
      “reasonable and proportional” to the violation. To that end, it authorizes
      CFPB to create a “safe harbor” fee amount presumed to be reasonable and
      proportional.1 On March 5, 2024, CF PB enacted a Final Rule that decreases
      the previously applicable safe harbor amount for late fees charged by the
      nation’s largest credit card issuers. The rule is set to take effect on May 14.
      To comply with the Final Rule, the credit card issuers must print and
      distribute disclosure materials about the late fees to customers. The current
      effective date means that customers must have received notice by March 29.
              On March 7, the Chamber of Commerce” sued CFPB and moved for
      a preliminary injunction in the Northern District of Texas? The Chamber
      requested a ruling “within 10 days, or as soon as possible thereafter, to
      prevent irrecoverable harm.” The motion became ripe on March 14, Despite
      previously finding good cause to expedite briefing, however, the district court
      did not rule on the motion by within 10 days of its filing. Instead, it sua sponte
      requested briefing on venue on March 18 and “welcome[d]” CFPB to file a
      motion to transfer venue.

            Having not received a ruling by the requested date, the Chamber
      moved for expedited review of its motion for a preliminary injunction on
      March 19. The Chamber informed the court that if it did not receive a ruling



              1 See 15 U.S.C. § 1665d(a)-(e).
              2 We refer to the group of plaintiffs as “the Chamber” for simplicity.
              3 The Chamber argues in its complaint that CFPB violated the Appropriations
      Clause, exceeded its statutory authority, offered a deficient analysis and reasoning, and
      adopted an effective date that violates another statute.
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      by March 22, it would understand its preliminary injunction to be effectively
      denied and would accordingly seek appellate review under 28 U.S.C.
      § 1292(a)(1). The district court denied the motion for expedited review on
      March 20. It did not rule on the motion for a preliminary injunction by March
      22.

              CFPB moved to transfer the case to the United States District Court
      for the District of Columbia (D.D.C.) on March 21. The motion became ripe
      on March 25. That same day, the Chamber appealed and filed an emergency
      motion for an injunction pending appeal and an administrative stay, arguing
      that the district court had effectively denied its motion for a preliminary
      injunction.‘
             On March 28, the district court granted the motion to transfer the case
      to D.D.C. The Chamber filed an emergency petition for mandamus and an
      administrative stay on March 29, requesting that we order “the district court
      to reopen the case because its transfer order was void for lack of jurisdiction
      and/or immediately request that the case be transferred back.”
             We administratively stayed the district court’s transfer order pending
      our more considered view of the mandamus petition.
                                               II

             As a threshold matter, the Chamber and CFPB disagree about
      whether the district court had jurisdiction to transfer the case. Specifically,
      CFPB says the district court retained jurisdiction to transfer because the
      district court did not effectively deny the preliminary injunction, so there was
      no appealable order.




             * That appeal is before our court under case number 24-10248.
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             To determine whether the district court had jurisdiction, we must first
      determine whether the district court effectively denied the preliminary
      injunction. An effective denial of a preliminary injunction is an appealable
      order.’ If there is an appealable order, the appeal divests the district court of
      jurisdiction “over those aspects of the case on appeal.”®
                  “A district court does not have the power to ‘alter the status of the
      case as it rests before the Court of Appeals.’””” If the district court altered the
      status of the case, in frustration of our jurisdiction, when it transferred the
      case, then the district court didn’t have jurisdiction to transfer the case, But
      if the district court did not alter the status by transferring the case, then it had
      jurisdiction, and we must consider whether the district court abused its
      discretion in ordering the transfer under 28 U.S.C. § 1404.8



              5 Clarke v. CFTC, 74 F.4th 627, 635 (5th Cir, 2023) (“[We] may review a district
      court’s order that, while not explicitly denying a preliminary injunction, ‘nonetheless ha[s]
      the practical effect of doing so’ and might cause irreparable harm absent immediate
      appeal.” (second alteration in original) (quoting Carson ». Am. Brands, Inc., 450 U.S. 79, 83
      (1981))).
               6 Alice L. », Dusek, 492 F.3d 563, 564-65 (5th Cir, 2007) (per curiam) (“A notice
      of appeal from an interlocutory order does not produce a complete divestiture of the district
      court’s jurisdiction over the case; rather, it only divests the district court of jurisdiction
      over those aspects of the case on appeal. .. . How broadly a court defines the aspects of the
      case on appeal depends on the nature of the appeal.”),
                  7 Dayton v. Indep. Sch. Dist. v. U.S. Min. Prod. Co., 906 F.2d 1059, 1063 (5th Cir.
      1990) (quoting Coastal Corp. Tex, E. Corp., 869 F.2d 817, 820-21 (5th Cir. 1989)).
               5 This analysis entails applying four private-interest and four public-interest
      factors. “The private-interest factors are ‘(1) the relative ease of access to sources of proof;
      (2) the availability of compulsory process to secure the attendance of witnesses; (3) the cost
      of attendance for willing witnesses; and (4) all other practical problems that make trial of a
      case easy, expeditious and inexpensive.’ The public-interest factors are ‘(5) the
      administrative difficulties flowing from court congestion; (6) the local interest in having
      localized interests decided at home; (7) the familiarity of the forum with the law that will
      govern the case; and (8) the avoidance of unnecessary problems of conflict of laws [or in]
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                                                    A
            We begin by asking whether the district court effectively denied the
      Chamber’s motion for a preliminary injunction. We conclude that it did.
             When a district court denies a preliminary injunction, the denial is an
      appealable interlocutory order.’ “[W]here an order has the ‘practical effect’
      of granting or denying an injunction, it should be treated as such for purposes
      of appellate jurisdiction.” !° Because the district court did not expressly deny
      the motion here, we must determine whether the district court’s inaction, in
      light of the unique expedited nature of the case, amounts to an “effective”
      denial.
              It’s generally understood that a motion for preliminary injunctive
      relief “must be granted promptly to be effective,” so if a district court does
      not timely rule on a preliminary-injunction motion, it can effectively deny the
      motion." We have accordingly recognized that simply sitting on a
      preliminary-injunction motion for too long can effectively deny it.
              CFPB argues that the district court’s delay is too short to constitute
      an effective denial because only ove month has passed since the motion for a
      preliminary injunction was filed. According to CF PB, the timeline of this



      the application of foreign law.’” Jn re Clarke, 94 F.4th 502, 509 (5th Cir, 2024) (first
      quoting Jn re Volkswagen of Am., Inc., 545 F.3d 304, 315 (Sth Cir. 2008) (en banc); then
      quoting Jn re TikTok, Inc,, 85 F.4th 352, 358 (5th Cir. 2023)),
              > See 28 U.S.C, § 1292(a)(1).
              1 Abbott v. Perez, 585 U.S, 579, 594 (2018).
            116 CHARLES ALLEN WRIGHT & ARTHUR MILLER, FEDERAL PRACTICE
      & PROCEDURE § 3924.1 (3d ed.) (emphasis added).
              2 See, e.g., Clarke, 74 F.4th at 635 (three months); McCoy ». La. State Bd. of Educ.,
      332 F.2d 915, 916-17 (5th Cir. 1964) (four months); United States ». Lynd, 301 F.2d 818,
      820 (5th Cir. 1962) (eight months),
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       case is far shorter than the other cases in which we recognized an effective
       denial. Without context, CFPB is right. But its argument fails to account
       for the expedited nature of this case. Among the considerations when
       determining whether a district court has waited too long to rule on a motion
       is “the urgency of preliminary relief as a means of preserving the opportunity
       for effective permanent relief.” Thus, whether a district court fails to act
       promptly depends entirely on context.

               The context of this case reveals that the district court did not act
       promptly with regard to the Chamber’s motion for a preliminary injunction.
       When CFPB enacted the Final Rule on March 5 and set an effective date of
       May 14, it created a short runway for issuers to comply or seek preliminary
       injunctive relief. To comply with the Final Rule, credit card issuers needed
       to have printed and distributed disclosure materials about the late fees to
       customers by March 29. The Chamber attests that providing notice
       “typically takes 4 months” —not weeks.
              For its part, the Chamber acted diligently. It filed this action
       challenging the Final Rule within two days of CF PB issuing the new rule. It
       argues in its complaint that   CF PB implemented its new rule in violation of a
       statute that requires it to give 6 months for issuers to comply. With its initial
      filing, the Chamber specifically requested a ruling on its preliminary
      injunction within 10 days so that the credit card issuers could avoid rushing
      to comply with a rule that they thought was invalid. It also requested
      expedited briefing. The district court found good cause to expedite the
      briefing schedule.




              8 See supra note 12,
              “WRIGHT & MILLER, supra note 11, § 3924.1 (emphasis added).
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               When the motion for a preliminary injunction became ripe on March
       14, the district court did not rule on it but instead swa sponte invited briefing
       on venue on March 18. The Chamber responded to not having received a
       ruling by its requested date by moving for expedited review of the motion for
       a preliminary injunction on March 19—it argued that if it didn’t receive a
       ruling by March 22, the preliminary injunction would be effectively denied
       because the credit card issuers had to provide notice to customers by March
       29. The district court quickly denied the motion for expedited review on
       March 20. And, as promised, the Chamber appealed, arguing effective denial.

                CFPB filed a motion to transfer that became ripe on March 25, and
       the district court chose to give its attention to that motion, ultimately
       granting it three days later on March 28.
               The Chamber made clear from its first filing that the Final Rule was
       going into effect on an unusually short timeline, which meant the credit card
       issuers had an unusually short window of time to comply. Accordingly, the
       Chamber repeatedly requested swift review. Given the Chamber’s diligence
       in seeking to expedite briefing and consideration, and its repeated requests
       for a ruling by specific dates so as to avoid substantial compliance with the
       new rule, the district court effectively denied the motion by failing to rule on
       it by those dates and sua sponte inviting briefing on venue/transfer.”
               Of course, we recognize that plaintiffs cannot simply say they need an
       expedited ruling and then appeal by claiming effective denial when they don’t
       get it on their preferred timeline. “Appeal cannot be achieved simply by
       asserting that the trial court has failed to act as promptly as wished by a party



                3 Cf Comput. Care ». Serv. Sys. Ent., Inc. 982 F.2d 1063, 1075 (7th Cir. 1992)
       (“[F]ailure to grant such relief when it was sought . . has the substantive effect of a denial.”
       (emphasis added)).
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       seeking an injunction.”! There must be a legitimate basis for the urgency.
       CFPB does not contradict the Chamber’s summary of the timeline or what
       the Final Rule requires credit card issuers to do by the effective date. It only
       counters that the issuers’ compliance costs, which the Chamber says are
       substantial, are in fact negligible. On this limited record, however, the
       Chamber has made the case that its urgency is justified.

              In sum, given the issuers’ unusually short timeline for complying with
       the Final Rule or obtaining injunctive relief, the district court effectively
       denied the Chamber’s motion for a preliminary injunction by not promptly
       ruling on it by and by instead opting to hear an unrelated motion sua sponte.
               We emphasize that what counts as an effective denial is contextual—
       different cases require rulings on different timetables. District courts have
      wide discretion in managing their docket, and they do not necessarily deny a
      motion by failing to rule on a parties’ requested timeline. Even so, in this
       case, the Final Rule’s fast-closing window for compliance demanded faster
      review of the motion for a preliminary injunction.
              Because the district court effectively denied           the   preliminary
      injunction, there is an appealable order before us.”
                                                 B
              Next, we ask whether the Chamber’s appeal of the district court’s
      effective denial divested the district court of jurisdiction to transfer the case.




              ‘©WrIGHT & MILLER, supra note 11, § 3924.1.
              "” Clarke, 74 F Ath at 635.
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              A notice of appeal from an appealable order divests the district court
      of jurisdiction over aspects of the case on appeal.'* “The filing ofa timely and
      sufficient notice of appeal transfers jurisdiction over matters involved in the
      appeal from the district court to the court of appeals. The district court is
      divested of jurisdiction to take any action with regard to the matter except in
      aid of the appeal.” ” “How broadly a court defines the aspects of the case on
      appeal depends on the nature of the appeal.””?° But it is clear that “{a] district
      court does not have the power to alter the status of the case as it rests before
      the Court of Appeals.”?!’To determine whether the district court had
      jurisdiction to transfer the case, we must define the scope of “the aspects of
      the case on appeal.”
              The Chamber argues that jurisdiction to transfer the case implicates
      “the aspects of the case involved on appeal” because a transfer would
      frustrate our ability to provide meaningful relief because we would have no
      case to review. We agree.
              In support      of this argument,        the Chamber        points to two       other
      contexts—qualified immunity and arbitration. In the qualified-immunity
      context, the district court loses authority to order discovery because the point
      of appealing a qualified-immunity denial is in part to avoid the burden of
      discovery. And in the arbitration context, the district court lacks authority to
      proceed because the point of appealing the denial of a motion to compel


                8 United States v. Hitchmon, 602 F.2d 689, 694 (5th Cir. 1979) (en banc), superseded
      by statute on other grounds; see also Rutherford v. Harris County, 197 F.3d 173, 190 n.17 (Sth
      Cir. 1999).
              8 Fitchmon, 602 F.2d at 692.
              20 Dusek., 492 F.3d at 565.
              4 Dayton, 906 F.2d at 1064 (quoting Coastal Corp., 820-21).
              2 Dusek, 492 F.3d at 564,




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       arbitration is to vindicate a clause that prohibits court proceedings at all. Pet.
       at 12-15. Transferring a case to another district while the appeal of an
       effective denial is pending would essentially nullify the appeal and render us
       unable to grant relief. It would thus “alter the status of the case as it rests
       before the Court of Appeals.”
              CFPB      counters that the Chamber’s cited cases support only that
       district courts are divested from taking actions that would eliminate all
       avenues for relief, and the Chamber can still get relief from the transferee
       court. But this doesn’t account for the unusually short timeline in this case.
       Once a transfer occurred, the Chamber certainly could not obtain relief by
       their requested dates for a ruling and in time to avoid substantial compliance
       with the new rule. Delaying review here undercut the Chamber’s chance for
       any meaningful review.
              In sum, by transferring the case while an appealable order was pending
       before our court, the district court “alter[ed] the status of the case as it rests
       before the Court of Appeals.”*4 Thus, the district court lacked jurisdiction
       to transfer the case.

                                                  il

              We’ ve so far concluded that the district court (1) effectively denied
      the preliminary injunction, and (2) lacked jurisdiction to transfer the case.
      We must still ask whether mandamus is appropriate.




               3 Dayton, 906 F.2d at 1064 (quoting Coastal Corp., 869 F.2d at 820~21); see also
      Griggs v. Provident Consumer Disc. Co., 459 ULS. 56, 58 (1982) (“The filing of a notice of
      appeal is an event of jurisdictional significance—it confers jurisdiction on the court of
      appeals and divests the district court of its control over those aspects of the case involved
      in the appeal.”); Wooten v, Roach, 964 F.3d 395, 403 (5th Cir, 2020).
              4 Dayton, 906 F.2d at 1064 (quoting Coastal Corp., 869 F.2d at 820-21),




                                                       i
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               A petitioner must satisfy three requirements for a writ of mandamus:
               (1) “the party seeking issuance of the writ [must] have no other
               adequate means to attain the relief he desires—a condition
               designed to ensure that the writ will not be used as a substitute
               for the regular appeals process”; (2) “the petitioner must
               satisfy the burden of showing that [his] right to issuance of the
               writ is clear and indisputable”; and (3) “even if the first two
               prerequisites have been met, the issuing court, in the exercise
               of its discretion, must be satisfied that the writ is appropriate
               under the circumstances,”
       “(This circuit has established that the first ‘mandamus requirement is
       satisfied in the motion-to-transfer context.’”*° Cases with “an out-of-circuit
       transfer only strengthens the case for mandamus.””” Thus, we focus on the
       second and third requirements.
               The second requirement is met because the district court lacked
      jurisdiction to transfer the case while an appealable order was pending before
       our court. This was clear and indisputable error.
               That     leaves   the third requirement.            “[W]rits     of mandamus          are
       supervisory in nature and are particularly appropriate when the issues also
      have an importance beyond the immediate case.”?* Facing an uptick in inter-
      circuit transfer orders, we take this opportunity to clarify that once an




                5 In re Volkswagen of Am., Inc., 545 F 3d at 311 (first alteration in original) (quoting
       Cheney ». U.S. Dist. Ct. forD. C., 542 U.S. 367, 380-81 (2004)).
               6 Inve TikTok, 85 F.4th at 358 (quoting Jn re Radmax, Lid., 720 F.3d 285, 287 n.2
      (5th Cir, 2013) (per curiam)).
               7 Inve Space Expl. Techs., Corp., No. 24-40103, 2024 WL 948321, *2 (5th Cir. Mar.
      5, 2024) (Elrod,J., dissenting).
               8 In ve Volkswagen, 545 F.3d at 319.




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       appealable order is lodged before our court, district courts lack jurisdiction to
       transfer a case because it stymies our ability to review.
              All three requirements for mandamus are met. Accordingly, issuance
       of the writ is appropriate.
                                        *         *        *


              Because the Chamber had a short window of time to either (1) comply
       with the Final Rule, or (2) seek a preliminary injunction, the district court’s
       inaction amounted to an effective denial of the Chamber’s motion for a
       preliminary injunction. That effective denial is properly before us on appeal.
       The district court lacked jurisdiction to transfer the case after this appeal was
       docketed because doing so would alter its status.
              IT IS ORDERED          that the administrative stay of the transfer order
       previously extended by this panel on April 2, 2024, is DISSOLVED.
              The district court’s transfer order is VACATED.

               The petition for a writ of mandamus is GRANTED. The district
       court is ORDERED to reopen the case and to give notice to D.D.C. that its
       transfer was without jurisdiction and should be disregarded.




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       ANDREW S, OLDHAM, Circuit Judge, concurring:

              I join Judge Willett’s opinion in full. Under the “one-court-at-a-time
       rule,” a notice of appeal generally transfers the case to us until we send it
       back to the district court. See, e.g., United States v. Willis, 76 F.4th 467, 471
       (5th Cir. 2023); United States ». Lucero, 755 F. App’x 384, 386 (5th Cir. 2018)
       (per curiam). While there are exceptions to that rule, see Willis, 76 F.4th at
       471-73, none applies here.
              I write separately to explore additional problems with the district
       court’s order to transfer this case under 28 U.S.C. § 1404(a).
                                               1.
              With greatest respect for our district court colleague, the transfer
       order erroneously    construed   (A) the § 1404(a)      standard   and   (B) our
       precedent, So even if the one-court-at-a-time rule did not apply, (C) we
      would have grounds to grant mandamus.
                                              A.
              Start with § 1404(a). It enables district courts to transfer certain cases
      “(flor the convenience of parties and witnesses’ > and “in the interest of
      justice.” 28 U.S.C. § 1404(a). Importantly, the burden is on the moving party
      to “clearly establish good cause” for the transfer. Def Distributed v. Bruck,
      30 F 4th 414, 433 (Sth Cir, 2022). It is not enough that the movant’s chosen
      alternative venue is “more likely than not to be more convenient.” See sbid.
      Rather, the chosen venue needs to be “clearly more convenient.” See In re
      Volkswagen of Am., Inc. (“Volkswagen IT”), 545 F.3d 304, 315 (Sth Cir. 2008)
      (en banc); see also In re Clarke, 94 F.4th 502, 508 (5th Cir. 2024) (“[A]
      movant must show (1) that the marginal gain in convenience will be
      significant, and (2) that its evidence makes it plainly obvious—i.e., clearly
      demonstrated—that those marginal gains will actually materialize in the




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       transferee venue.”) (emphasis in original), Among other things, this burden
       reflects the longstanding deference that courts show towards the plaintiff’s
       choice of venue. See, e.g., Atl. Marine Const. Co. v. U.S. Dist. Ct. for W. Dist.
       of Tex., 571 U.S. 49, 62 n.6 (2013) (“The Court must...give some weight to
       the plaintiffs’ choice of forum.”); Clarke, 94 F.4th at 515-16 (noting that the
       plaintiff is “master of the complaint”); see also Def. Distributed, 30 F 4th at
       433 (providing that the plaintiff's choice of venue should be respected);
       Volkswagen II, 545 F.3d at 315 (same).
              The district court’s order appeared to recognize these requirements.
       But Iam concerned that the district court lightened the § 1404(a) burden in
       two ways.
               First, the district court held that a plaintiff's choice of venue is
      accorded less respect “where the plaintiff brings suit outside his home
      forum.” District Court Op. at 2 (quotation omitted). As only one of the six
      plaintiffs was based in the Northern District, this rule statement appears to
      have influenced the remainder of the district court’s analysis. See, e.g., #d. at
      3, 5. But I am unaware of any support in our precedent or the Supreme
      Court’s for this less-respect rule. To the contrary, we have never put a
      geographic caveat on our repeated statements about the plaintiff's choice of
      venue, See, ¢.g., Clarke, 94 F.4th at 515-16; Def: Distributed, 30 F.4th at 433;
       Volkswagen II, 545 F.3d at 315. Moreover, this assertion conflicts with the
      relevant venue statute regarding suits against federal officers. See 28 U.S.C,
      § 1391(e). In that statute, Congress provided three paths to establish venue,
      including, but expressly not limited to, the residence of the plaintiff. See 28
      ULS.C. § 1391(e)(1)(C); see also id. § 1391(e)(1)(A) (providing venue in any



              1 Query whether, where at least one of the plaintiffs did bring suit in its home
      forum, the residence of the other five plaintiffs should matter in any event.




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       district “‘in which...a defendant in the action resides”); éd. § 1391(e)(1)(B)
       (providing venue in any district “in which ...a substantial part of the events
       or omissions giving rise to the claim occurred, or a substantial part of
       property that is the subject of the action is situated”), Because Congress gave
       no textual priority to one of these three avenues, we cannot give preference
       to suits brought in the plaintiff's home forum.
              Second, the district court appeared to analyze the motion to transfer
       with an eye towards discouraging forum and / or judge-shopping. See District
       Court Op. at 5-7, However well-intentioned this approach may have been, I
       cannot find support for it in Supreme Court or Fifth Circuit precedent. True,
       Congress added the qualification “substantial” to § 1391(e)(1)(B). Cf
       District Court Op. at 5; see also id. at 6 (recommending that plaintiffs bring
       cases “in jurisdictions where the impact is uniquely and particularly felt,”
       notwithstanding the fact that those words do not appear in the relevant
       federal venue statute), But that only highlights that Congress did not require
       “substantiality” in § 1391(e)(1)(A) and (C). It is not for federal district courts
       to add additional qualifications on top of statutory law, especially where the
       Supreme Court has previously declined to impose judicial barriers to forum-
       shopping. ? See, e.g., Ferens v. John Deere Co, 494 U.S. 516, 527-29 (1990).
                                                   B.
              Next, consider our court’s § 1404(a) precedents. In determining
       whether the movant has clearly established good cause for the transfer, see




                ’ The district court noted that “[vJenue is not a continental breakfast; you cannot
      pick and choose on a Plaintiffs’ whim where and how a lawsuit is filed.” District Court Op.
      at 5, But so long as the plaintiffs complied with federal law, any complaint about the scope
      of venue statutes is better addressed to Congress.




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       Def. Distributed, 30 F.Ath at 433, courts must consider eight factors (four
       private-interest and four public-interest):
               The private-interest factors are “(1) the relative ease of access
               to sources of proof; (2) the availability of compulsory process
               to secure the attendance of witnesses; (3) the cost of
               attendance for willing witnesses; and (4) all other practical
               problems that make trial of a case easy, expeditious and
               inexpensive.” The public-interest factors are “(5) the
               administrative difficulties flowing from court congestion; (6)
               the local interest in having localized interests decided at home;
               (7) the familiarity of the forum with the law that will govern the
               case; and (8) the avoidance of unnecessary problems of conflict
               of laws [or in] the application of foreign law.”
       Clarke, 94 F.4th at 509 (citations omitted).3 No factor is “dispositive,” and
       this court has cautioned against a “raw counting of the factors that weighs
       each the same.” Jn re TikTok, Inc, 85 F.4th 352, 358 (5th Cir. 2023)
       (quotation omitted).
               The district court found that factors (4), (5), and (6) weighed in favor
       of transfer to the D.D.C.          See District Court Op. at 4-6. But there are
       significant problems with the district court’s analysis of all three.
               Begin with factor (4): “practical problems that make trial of a case
       easy, expeditious and inexpensive.” Clarke, 94 F.4th at 509, The district
       court emphasized that most of the attorneys were from D.C. See District
       Court Op. at 4. Accordingly, the attorneys’ travel costs would mean “an
       expensive bill” charged either to the plaintiffs or the taxpayers. Jbid. Even if


               3 These factors are drawn in large part from our en banc decision in Volkswagen II.
       But that case involved an éntra-circuit transfer from one Texas district court to another. See
       545 F.3d at 307. Query whether a higher burden should be met in advocating a § 1404(a)
       transfer from a district court in one circuit to a district court in another circuit more than
       1,000 miles away.




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      true, this does not weigh this factor in favor of transfer. As to the plaintiffs’
      costs, it bears repeating that the plaintiffs are the “master[s] of the
      complaint.” See Clarke, 94 F.4th at 515-16. That characterization would
      mean very little if the travel costs of the plaintiffs’ lawyers could be used to
      oppose the plaintiffs’ own choice of venue.
              As to the federal government’s lawyers, two points bear emphasis.
      First, “[w]hen      a defendant is haled into court, some inconvenience is
      expected and acceptable.” Def Distributed, 30 F.4th at 433, Travel costs are
      an assumed part of that inconvenience, Cf In re Horseshoe Entertainment, 337
      F.3d 429, 434 (5th Cir. 2003) (per curiam) (rejecting a district court’s
      consideration of the location of counsel in the § 1404(a) analysis). Second, it
      is no surprise that defendants’ lawyers are from D.C.—defendants are a
      federal agency and a federal officer. But if their travel costs are to weigh
      against out-of-D.C. venues, federal defendants could always argue that
      litigation should be transferred to the D.D.C.4 Such an outcome would
      concentrate federal judicial power in D.C. and undermine our federalist
      system. Correctly applied, this factor is neutral as to a transfer from the
      Northern District of Texas to the District of Columbia.
              Next, consider factor (5): “the administrative difficulties flowing from
       court congestion.” Clarke, 94 F.4th at 509. The district court found this
       factor weighed “heavily” in favor of transfer. See District Court Op. at 4-5.



                4 In their opposition to the petition for writ of mandamus, defendants deny the
      consequences of the district court’s rationale. See Opposition at 29 (“Many APA cases are
      litigated outside Washington, D.C, —including in this Circuit—and appropriately so.”).
      But defendants give no indication how the reasoning in the transfer order could not be used
      by federal defendants to always support transfers to the D.D.C, on account of government
      counsel’s convenience and expense. Must plaintiffs challenging government action always
      use non-D.C, attorneys so as to oppose this argument? Such an anti-plaintiff work-around
      cannot possibly be required by § 1404(a)’s text or this court’s precedents.




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       In doing so, it relied on evidence suggesting the median time for disposition
       of a case in the D.D.C. is 1.4 months quicker than that in the Northern
       District of Texas. See ibid. (citation omitted). We certainly defer to the able
       district court’s assessment of its own docket, but it’s an altogether different
       proposition to defer to a district court’s “suess” about the congested nature
       of other district dockets. See Clarke, 94 F.4th at 515. If this factor weighs in
       favor of transfer, it does so only slightly.
               Finally, consider factor (6): “the local interest in having localized
       interests decided at home.” Jd, at 509. The district court concluded that
       there was a “strong interest” in having this case decided in D.C. See District
       Court Op. at 5. But in doing so, the court emphasized the location of the
       parties and their attorneys. See id. at 6 (“The Rule at issue in this case was
       promulgated in Washington         D.C., by government agencies stationed in
       Washington D.C., and by employees who work in Washington D.C, Most of
       the Plaintiffs in this case are also based in Washington D.C. and eighty
       percent of the attorneys in this matter work in Washington D.C.”). With
       deepest respect for our learned colleague, this conflicts with our recent
      decision in Clarke, which held that “the local-interest inquiry is concerned
      with the interest of non-party citizens in adjudicating the case.” 94 F.4th at
      511 (emphasis in original); see also id. (critiquing a district court for only
      considering the “relationship between the venue and the party”).
              Properly understood,     local interests do not weigh in favor of transfer
      and plausibly weigh against transfer. Plaintiffs have alleged that many of the
      non-party citizens that will be affected by the challenged CFPB Rule live in
      Texas, including in the Northern District. See Plaintiffs’ Supplemental
      Motion on Venue and Response to Defendants’ Motion to Transfer Venue
       at 13. And as relevant to the “relative” nature of the transfer analysis, cf
      Clarke, 94 F.4th at 512, many more potentially affected non-party citizens are
      in Texas than in the District of Columbia. See Plaintiffs’ Supplemental



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      Motion on Venue and Response to Defendants’ Motion to Transfer Venue
      at 13. A proper focus on non-party citizens instead of parties would place the
      local interests factor as weighing against transfer not in favor of it.

                                              C.

             Lastly, the mandamus inquiry. Clarke succinctly laid out the three
      requirements for writ of mandamus:
              First, “there must be ‘no other adequate means to attain the
              relief... desire[d].’” Second, “the right to issuance of the writ
              must be clear and indisputable.” Third, “the issuing court, in
              the exercise of its discretion, must be satisfied that the writ is
              appropriate under the circumstances.”
       94 F.4th at 516 (citations omitted). All three requirements are met here.
               First, mandamus is permitted where plaintiffs have no other means of
      achieving redress for the district court’s erroneous transfer order. See tbid.;
      see also In re Radimax, Ltd., 720 F.3d 285, 287 n.2 (5th Cir. 2013).
               Second, the right to mandamus is clear and indisputable based on the
       district court’s erroneous analysis of the § 1404{a) factors. Clarke is
       instructive. In that case, we found a clear abuse of discretion where the only
       factor that weighed in favor of transfer, congestion, was opposed by another
       factor that weighed against transfer. See éd. at 509-16. Here, the only factor
       that weighs in favor of transfer, congestion, is opposed by another factor that
       plausibly weighs against transfer, local interests. While we do not replace the
       district court’s exercise of discretion with our own, see Volkswagen IT, 545
       F.3d at 312, the parallels between Clarke and this case cannot be ignored. And
      we are obviously bound to follow Clarke.

              Third, as we recognized in Clarke and prior cases, mandamus is
       “particularly appropriate” for reviewing district court transfer decisions. See
       Clarke, 94 F.4th at 516 (quotation omitted); see also TikTok, 85 F.4th at 367




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      (holding that mandamus       is an appropriate    exercise of our supervisory
      discretion where transfer decisions are rarely reviewed and district courts
      continue to inconsistently administer § 1404(a) transfers). Here, mandamus
      would be appropriate for many reasons, not least of which is to clarify to this
      district court and others that forum-shopping, whether in or out of one’s
      home forum, cannot weigh in favor of § 1404(a) transfer.
                                             IL.

              This case again highlights why a district court should stay a transfer
      order for a short period so that opposing parties may appeal it. We
      commended that procedure in Clarke, 94 F.4th at 507 nl. And that
      procedure would have avoided the very unfortunate circumstance presented
      by this motion: we’ve been forced to consider a mandamus application on a
      highly truncated timeline and to grant relief that could’ve otherwise been
       avoided.
              I have zero doubt about the conscientiousness of the learned district
       court judge. The district court’s forum-shopping concerns might be well-
       founded. And I certainly don’t think the district court “defied” anyone or
       anything, Post, at 3 (Higginson, J., dissenting). But I do think the preexisting
       transfer rules precluded sending this case to Washington, D.C. That result is
       dictated by Clarke and the ample authorities underlying that decision—not
       some “new proposition of law created by [today’s] majority.” Post, at 5
       (Higginson,J., dissenting).




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       STEPHEN A. HIGGINSON,           Circuit Judge, dissenting:
              I would deny the mandamus petition.
                                              L

               The district court’s reasoned conclusion that the case “does not
       belong in the Northern District of Texas” is fact-based and sound. Chamber
       of Com. v. CFPB, No. 4:24-CV-00213-P, 2024 WL 1329959, at *4 (N.D. Tex.
       Mar, 28, 2024). As it notes, the CFPB and “[mlJost of the Plaintiffs in this
       case are also based in Washington D.C.” —not to mention that all the events
       are tied to Washington, D.C.: The CFPB Rule in question “was promulgated
       in Washington D.C., by government agencies stationed in Washington D.C.,
       and by employees who work in Washington D.C.” Jd, at *3. Conversely, the
       case has no real, let alone “substantial,” connection to the Northern District
       of Texas. 28 U.S.C. § 1391(e)(1). As the district court explained, “[t]he only
       apparent connection” is that: (1) “one Plaintiff” —not a card issuer affected
       by the Late Fee Final Rule, but the Fort Worth Chamber of Commerce,
       asserting associational standing for an out-of-state bank that claims
       membership—is headquartered in the Northern District of Texas, and (2)
       “the effects of the Rule will be felt generally here.” Chamber of Com., 2024
      WL 1329959, at *4,

             All parties agree venue is proper in Washington, D.C., where the case
      has already been docketed. See Chamber of Com. v. CFPB, No. 1:24-cv-00915-
      ABJ (D.D.C. Mar. 29, 2024), ECF No. 68.
             The district court also correctly emphasized that there is no indication
      the matter would not get a full, fair, and expeditious resolution in the District
      Court for the District of Columbia. And Petitioners’ assertion, embraced by
      the majority, of a March 29 deadline to provide notice to customers ignores
      what the challenged Rule actually requires.




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             I would therefore hold that the stark concentration of parties and
      events in Washington, D.C. readily supports the district court’s
      determination that practical considerations, along with the congestion and
      local-interest factors, justify transfer.
                                                  Il.

              Importantly, I also see no abuse of discretion that would warrant
      mandamus. Judge Pittman’s analysis of the Gilbert factors and his fact-
      specific determinations, all made in response to Petitioners’ urgent
      presentation of this case, make transfer here a determination soundly within
      his discretion, Jn re Volkswagen of Am., Inc., 545 F.3d 304, 311 (5th Cir, 2008)
      (en banc) (“There can be no question but that the district courts have ‘broad
      discretion in deciding whether to order a transfer.’” (citation omitted)), and
      certainly not “patently erroneous,” d. at 312; see id. (“But—and we stress—
      in no case will we replace a district court’s exercise of discretion with our
      own; we review only for clear abuses of discretion that produce patently
      erroneous results.”).

             Notably, this is wot a case where the district court “fail[ed] to rule on
      the preliminary injunction for three months,” f re Clarke, 94 F.4th 502, 508
      (5th Cir. 2024); not a case where the district court made a relative
      determination regarding the local-interest factor based “solely” on the
      parties ’ “connection[s] to the venue” rather than the “events that gave rise
      to the suit,” #d, at 511 & n.12 (citation omitted); and vot one where it provided
      “all of two sentences” to discuss all four private-interest factors, éd. at 513.
             Indeed,    the   district court’s      prompt   transfer   of the   case,   after
      explaining in detail why the case was improperly before it, dutifully heeds our
      admonishments to district courts to prioritize ruling on motions to transfer.
      See, e.g., Inve TikTok, Inc., 85 F.4th 352, 362 (Sth Cir, 2023); In re Horseshoe
      Ent., 337 F.3d 429, 433 (5th Cir. 2003). By granting mandamus, the majority




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      reverses course today.’ Contra State ex rel. Nixon v. Coeur D’Alene Tribe, 164
      F.3d 1102, 1107 (8th Cir. 1999) (finding that an order granting a motion to
      transfer a case did not constitute an effective denial of a pending motion for a
      preliminary injunction).
             Worse still, the majority’s grant of mandamus also threatens to
      impossibly hamstring district courts by effectively declaring that our district
      judges cannot manage their dockets to sequence threshold questions before
      difficult merits questions and cannot transfer cases if there are motions
      pending. Instead, district courts will be deemed to have “decided” merits
      questions —and      will be subject to appellate review—when they simply do not
      accede to a plaintiff’s insistence for a ruling in less than two weeks from
      assignment of the case. I have never been a trial judge, but this strikes me as
      impossible law for us to impose, much less declare as clear and obvious
      existing law defied by Judge Pittman.
              The    majority      concludes     there was       an   effective     denial   of the
      preliminary     injunction     because     of the       “unusually    short     timeline   for
      complying.” Maj. at 9; see id. (“There must be a legitimate basis for the
      urgency. CFPB does not contradict the Chamber’s summary of the timeline
      or what the Final Rule requires credit card issuers to do by the effective
      date.”). This conclusion, however, rests on a factually flawed premise. As
      the CFPB has explained, issuers are not required to give advance notice if
      they reduce a late fee—which is the only change that the Late Fee Rule
      requires. See 12 C.F.R.§ 1026.9(c)(2)(v)(A); see also id. § 1026.6(b)(3). Any
      specter of a March deadline for compliance with the Rule—the alleged



                1 The absence of amy authority establishing requirements for threshold
      determinations a district court must make prior to effectuating what it in good faith believes
      is a valid transfer —including ruling on pending motions— underscores the impropriety of
      mandamus in this case.




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       “legitimate basis for the urgency” —was,              therefore, a fiction.? And in the
       absence of an actual deadline, the mere two weeks the district court had with
       this complex preliminary injunction request? —indeed, premised heavily ona
       case pending before the Supreme Court—cannot have constituted an
       effective denial. Nothing in our case law comes remotely close to establishing
       that proposition. Indeed, even this petition for mandamus has been pending
       before us for a week. See Petition, Jn re Chamber of Com., No. 24-10266
       (March 29, 2024), ECF No. 5.
               Gutting in this manner a district judge’s discretion to expeditiously
       transfer a case it has good reason to believe is improperly before it—
       especially when Petitioners have insisted that time is of the essence—is
       particularly worrisome not just as our usurpation of district courts’ docket
       control, but also in its implications for the judiciary’s ability to prevent forum
       shopping. Cf Judicial Conference Committee on Court Administration and
       Case Management, Guidance for Ciil Case Assignment in District Courts
       (Mar. 2024). It was apparent to Judge Pittman that under Petitioners’
       “theory, there isn’t a city in the country where venue would not lie, as every
       city has customers who may potentially be impacted by the Rule.” Chamber
       of Com., 2024 WL 1329959, at *3. In full view of Petitioners’ actions, the
       district court then saw fit to include the following admonition which our
       decision today repudiates: “Venue is not a continental breakfast; you cannot
       pick and choose on a Plaintiff's whim where and how a lawsuit is filed.



                 2 To the extent that Petitioners argue issuers need to make other changes to
       counteract the effects of the Rule, the timing of those changes is entirely elective, and
       entirely untethered to the Rule’s effective date. Any urgency stemming from issuers’ desire
       to effect other changes not required under the CFPB’s rule would, therefore, be merely an
       urgency of their own design.
               3 Petitioners themselves chose to move        for a preliminary   injunction, not a
       temporary restraining order.




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      Indeed, this is why § 1391(e)(1)(B) has the ‘substantial’ qualification as one
      of the factors in deciding venue.” Jd, I fear that in granting mandamus to
      vacate a well-reasoned and fact-based transfer order, so too is vacated any
      intelligible limiting principle constraining “[p]laintiffs’ whim|[s].”
                                                    IH.
              For the foregoing reasons, | believe that the new proposition of law
       created by the majority is incompatible with district court discretion over
       docket management and prudent policing of forum shopping.“

               Finally, 1 am confident the District Court for the District of Columbia
       will give the suggestion that it should disregard a case docketed by it its
       closest attention.




                4 See Order at 2, Chamber of Com. ». CFPB, No. 4:24-CV-00213-P (N.D. Tex.
       March 20, 2024), ECF No. 51 (“[T]he Court does not have the luxury to give increased
       attention to certain cases just because a party to the case thinks their case is more important
       than the rest. There are simply too many cases that demand the Court’s full attention.”);
       of, June Med. Servs. L.L.C. ». Phillips, No. 22-30425, 2022 WL 4360593, at *1 (5th Cir.
       Sept. 28, 2022) (construing district court’s denial of expedited relief but explicit deferral
       of merits determination as “‘an administrative decision by the district court to manage its
       docket” (citation omitted)).




                                                     26
